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 Attorneys for the Debtors

                                                 : UNITED STATES BANKRUPTCY COURT
 In re:                                          : FOR THE DISTRICT OF NEW JERSEY
                                                 :
 SHAPES/ARCH HOLDINGS L.L.C., et                 : CHAPTER 11
 al.,
                                                   CASE NO. 08-14631 (GMB)
                       Debtors.                    (Jointly Administered)

                                                   Hearing Date: August 25, 2008 at 10:00 a.m.

     NOTICE OF THE DEBTORS’ OBJECTION SEEKING ORDER TO PARTIALLY
            RECLASSIFY ADMINISTRATIVE CLAIM OF ALCOA, INC.
                     TO GENERAL UNSECURED CLAIM
          The above captioned Debtors and Debtors-in-Possession, by and through their

 undersigned counsel, have filed an objection seeking an Order partially reclassifying the

 administrative expense claim of Alcoa, Inc. to general unsecured status (the “Objection”).

          Your rights may be affected. You should read these papers carefully and discuss

 them with your attorney, if you have one in this bankruptcy case. (If you do not have an

 attorney, you may wish to consult one.)

          If you do not want the Court to grant the relief requested by the Movant, or if you want

 the Court to consider your views on the Motion, then on or before August 18, 2008 you or your

 attorney must:

          File with the Court an answer explaining your position at: Clerk, U.S. Bankruptcy Court,

 U.S. Post Office & Courthouse Building, 401 Market Street, 2nd Floor, P.O. Box 2067 Camden,



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 NJ 08101-2067. If you mail your response to the Court for filing, you must mail it early enough

 so the Court will receive it on or before the date stated above.

         You must also mail a copy to:

         Jerrold N. Poslusny, Jr., Esquire, COZEN O'CONNOR, Liberty View, Suite 300, 457

 Haddonfield Road, Cherry Hill, NJ 08002.

         Attend a hearing scheduled to be held on August 25, 2008 at 10:00 a.m. in Courtroom

 4C, United States Bankruptcy Court, Mitchell H. Cohen U.S. Courthouse, 400 Cooper Street, 4th

 Floor, Camden, NJ 08101.

         If you or your attorney do not take these steps, the court may decide that you do not

 oppose the relief sought in the motion and may enter an order granting that relief.


 Dated: July 21, 2008                          COZEN O’CONNOR


                                               By:       /s/ Jerrold N. Poslusny, Jr.
                                                     Mark E. Felger
                                                     Jerrold N. Poslusny, Jr.

                                                     Attorneys for the Debtors




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